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        EXHIBIT B
        Case 5:22-cv-00079-PA-SHK
                    Electronically FILED by SuperiorDocument
                                                    Court of California,1-3    Filed
                                                                        County of        01/12/22
                                                                                  Riverside                Page
                                                                                            on 12f0812021 05:01 PM 2 of 2 Page ID #:20
                 Cast Number CVRI2105558 0000006001188- W.Samuel Hamrick Jr., Executive Officer/Clerk ofthe Court IN Freddy Rrwa Clerk                   SUM-100
                                                 SUMMONS                                                                (
                                                                                                                            FOR COURT USE ONLY
                                                                                                                         SOLO PARA USO DELA CORTE)
                                         (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
(AVIS° AL DEMANDADO):
 ZUMIEZ INC.. AND DOES 1 - 25, inclusive,


YOU ARE BEING SUED BY
(LO ESTA DEMANDANDO EL DEMANDANTE):
DEVIN SANTIVANEZ,an Individual


  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file,a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the Califomia Courts
  Online Self-Help Center(www.courtinfo.ca.goviscIthelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money,and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attomey right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site(www lawhelpcalifomia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  iAV1SO!La ban demandado.. Si no responde dentro de 30 dies, la corte puede decidir on su contra sin escuchar su version. Lea la informed& a
  continuacion.
     Tiene 30 DiAS DE CALENDAMO develop do quo to entroguen esta cilacien y pope/es legates pain Presenter una respuesta por escrito en esta
  code y hacer que se entregue una copia al demandante. Una carte o una Hamada telefenica nobo protegen. Su respuesta por escrito tiene que eater
  en format()legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted puede usar para su respuesta.
 Puede encontrar estos formularios de la code y mas informed& en el Centro de Ayuda de las C,ortes de California (www.sucorte.ca.gov), en la
  biblioteca de byes de su condado o en la corte que le quede mas cerca. Si no puede pager la cuota de presentacien, pida at secretario de la code
  que le de un forrnulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede pardon el caso por incumplimiento y /a corte le
  podia guitar su sueldo, dinero y bienes sin mas advertencia.
     Hay otros requisitos legates. Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede !lamer a un servicio de
  remisien a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisi(os para obtener servicios legates gratuitos de un
  programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 ( www.lawheipcalifomia.org), on el Centro de Ayuda de las Cortes de California,(www.sucorte.ca.gov)o poniendose en contact° con la Code 001
  colegio de abogados locales. AVISO:Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
  cualquier recuperaciOn de $10,0000'nes de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
  pagar el gravamen de la code antes de que la code pueda desechar el caso.
The name and address of the court is:                                                                       CASE NUMBER:
                                                                                                           (Namero del Caw):
(El nombre y direccion de la code es):
                                                                                                              G'JFI21 05558
 SUPERIOR COURT OF THE STATE OF CALIFORNIA COUNTY OF RIVERSIDE
 4050 Main Street
 Riverside, CA 92501

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direccion y el namero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
 Robert Hampton Rogers SB#106206 Tel: 213.599.7595 Fax: 213.599.7596
 Callanan, Rogers & Dzida, LLP
 800 S. Figueroa Street,Suite 720, Los Angeles, CA 90017
DATE:                                                                             Clerk, by                                                             , Deputy
                                       12/08/2021                                 (Secretario)                                                          (Adjunto)
(Fecha)
(For proof ofservice of this summons, use Proof of Service of Summons(form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010)).
                                            NOTICE TO THE PERSON SERVED: You are served
                                            1.     as an individual defendant.
                                            2. [1] as the person sued under the fictitious name of (specify):
                                                                              ZUMIEZ, INC.
                                            3.    E on behalf of(specify):
                                                 under:    ai CCP 416.10(corporation)                                 CCP 416.60(minor)
                                                          111 CCP 416.20(defunct corporation)                     LI CCP 416.70(conservatee)
                                                          •CCP 416.40 (association or partnership)                   CCP 416.90(authorized person)
                                                          •other (specify):
                                            4.       by personal delivery on (date):
           00681 50(g)                                                                                                                                        Page 1011
  Form Adopted for Mandatory Use                                                                                                    Code of Civil Procedure §§412.20,485
   - Judicial Ccuircil of Califurnia                                      SUMMONS                         American LegalNet, Inc.                     www.courtinfoxa.gov
                                                                                                          v.ww.rorrnsWondfory.com
    SUM-100[Rev. July 1, 20091
